47 F.3d 1184
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Jerome SCOTT, Petitioner,v.UNITED STATES POSTAL SERVICE, Respondent.
    No. 95-3175.
    United States Court of Appeals, Federal Circuit.
    Jan. 26, 1995.Order Vacated and Petition Reinstated May 10, 1995.
    65 M.S.P.R. 511
    
      1
      DISMISSED.
    
    ORDER
    
      2
      The petitioner having failed to file the required Statement Concerning Discrimination, it is
    
    
      3
      ORDERED that the petition for review be, and the same hereby is, DISMISSED, for failure to prosecute in accordance with the rules.
    
    